        Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 1 of 6




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9

10                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                      CR 20-131 SI
14                      PLAINTIFF,
                                                    DEFENDANT’S SENTENCING MEMORANDUM
15                  V.

16                                                  HONORABLE SUSAN ILLSTON
     DIONIS ESCOBAR RAMOS,                          DATE: OCT, 5, 2020
17                      DEFENDANT.                  TIME: 1:00 P.M.
18

19      1. INTRODUCTION
20          Dionis Escobar Ramos intends to plead guilty to a single violation of 21 U.S.C. § 841 for
21   selling $40.00 worth of crack cocaine to an undercover officer in the Tenderloin. His advisory
22   Guideline range is 15-21 months. Mr. Escobar Ramos requests a slight variance from that range,
23   to a sentence of one year and one day in custody. In light of his history, the nature of this
24   offense, and the difficulties of being incarcerated during a pandemic—including the fact that Mr.
25   Escobar Ramos contracted Covid-19 while in custody—a sentence of one year and one day
26   would satisfy the objectives of 18 U.S.C. § 3553(a).
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28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
                                                        1
         Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 2 of 6




1        2. A SENTENCE OF ONE YEAR AND ONE DAY IN CUSTODY WOULD BE SUFFICIENT, BUT NOT
            GREATER THAN NECESSARY, TO SATISFY THE GOALS OF 18 U.S.C. § 3553(A)
2
            In determining an appropriate sentence, the court must look to the factors set forth in 18
3
     U.S.C. § 3553, among them the applicable sentencing guideline calculation. United States v.
4
     Booker, 543 U.S. 220, 245-46 (2005); United States v. Autery, 555 F.3d 864, 872 (9th Cir. 2009);
5
     United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008). The Court’s paramount concern must be
6
     to “‘impose a sentence sufficient, but not greater than necessary’ to reflect the seriousness of the
7
     offense, promote respect for the law, and provide just punishment; to afford adequate
8
     deterrence; to protect the public; and to provide the defendant with needed educational or
9
     vocational training, medical care, or other correctional treatment.” Carty, 520 F.3d at 991.
10
     Application of the factors listed in Section 3553(a) to this case supports imposition of the
11
     mandatory minimum sentence of one year, plus one day in custody.
12
             2.1 The History and Characteristics of the Defendant and Nature and Circumstances
13               of the Offense (18 U.S.C. § 3553(a)(1))
14          Dionis Escobar Ramos grew up in abject poverty in Honduras. Mr. Escobar Ramos’
15   family of 10 lived in a two-bedroom home without electricity. He often went without food,
16   clothing, or shoes. When Mr. Escobar Ramos was only 13 years old, he had to drop out of school
17   (in the 6th grade) to begin working in the fields. PRS ¶¶ 50-51.
18          In addition to the hardship and poverty, Mr. Escobar Ramos grew up in a country under
19   the constant threat of violence. Whether caused by gangs, an ineffective government, drug
20   trafficking, or poverty, Honduras currently claims the title of “murder capital of the world.” 1 The
21   government is blatantly corrupt and has lost international support because of allegations of
22   human rights abuse. 2 There are also allegations of gang infiltration of Honduras’ police force. 3
23
     1
      United States Department of State Bureau of Diplomatic Security. Honduras 2018 Crimes and
24   Safety Report, (April 3, 2018). Accessed at:
25   https://www.osac.gov/Pages/ContentReportDetails.aspx?cid=23798
     2
      Khan, Carrie, “Honduras Claims Unwanted Title of World's Murder Capital” Parallels (June
26   12, 2013). Accessed at: https://www.npr.org/sections/parallels/2013/06/13/190683502/honduras-
27   claimsunwanted-title-of-worlds-murder-capital.

28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
                                                        2
               Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 3 of 6




1    “According to the State Department, 42 percent of all cocaine headed to the U.S. and 90 percent
2    of all cocaine flights now travel through Honduras.” 4 Like others before him, Mr. Escobar Ramos
3    made the perilous, illegal journey to the United States in search of a future free of corruption,
4    gang violence, and poverty. Shortly after Mr. Escobar Ramos first came to the United States, his
5    brother, with whom he was very close, was murdered by gang members. He is still processing
6    this loss, ten years later.
7                 2.2 The Need for the Sentence Imposed To Promote Respect for Law, Provide Just
8                     Punishment, and Afford Adequate Deterrence (18 U.S.C. § 3553(a)(2))

9                A sentence of one year and one day in custody is just and will promote respect for the law

10   because it is long enough to provide specific and general deterrence. A sentence of one year and

11   one day would be the longest sentence Mr. Escobar Ramos has ever received. It is also a

12   sufficiently long sentence for his crime—a street-level sale of two rocks of cocaine base—to send

13   a strong message to the community.

14                2.3 The Need for the Sentence Imposed To Protect the Public from Further Crimes
                      of the Defendant (18 U.S.C. § 3553(a)(2))
15
                 Mr. Escobar Ramos has no history of violence and will be deported after serving his
16
     sentence. A prison term longer than one year and one day is not necessary to protect the public
17
     from him.
18
                  2.4 The Need for the Sentence Imposed To Provide the Defendant with Needed
19                    Educational or Vocational Training, Medical Care, or Other Correctional
20                    Treatment in the Most Effective Manner (18 U.S.C. § 3553(a)(2))
                 Today, any sentence longer that the mandatory minimum necessarily subjects Mr.
21
     Escobar Ramos to an increased risk of contracting a deadly virus. The Court is well aware of the
22
     nature and scope of the coronavirus pandemic. Within the correctional system, the situation is
23
     especially dire. Prisons and jails, which lack proper sanitation and means to accomplish social
24
     distancing, are tinderboxes. For example, the rate of infection on Rikers Island is over seven
25

26   3
         Id.
27
     4
         Id.

28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
                                                          3
         Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 4 of 6




1    times the rate of infection in New York City at large. 5 The CDC has recognized that
2    “Correctional and detention facilities face challenges in controlling the spread of infectious
3    diseases because of crowded, shared environments and potential introductions by staff members
4    and new intakes.” 6
5           Bureau of Prisons facilities where COVID-19 has been detected have developed
6    epidemics alarmingly quickly and continue to spiral. For example, on March 26, 2020, the first
7    person in the city of Lompoc tested positive for coronavirus. 7 By May 18, over 900 inmates and
8    17 staff members at FCI Lompoc were infected. 8 The skyrocketing and devastating numbers at
9    other BOP facilities reveal a similarly dramatic and deadly explosion:
10          -   FCI Terminal Island reported over 600 positive cases and 10 inmate deaths. 9
11          -   FCI Butner reported over 600 positive cases and 17 inmate deaths. 10
12          -   FCI Seagoville reported that over 1,300 inmates have tested positive for Covid-19. 11
13          Overall in the Bureau of Prisons system, over 12,000 federal inmates and 1,000 BOP staff
14   have been infected, with 124 federal inmate deaths and two staff member death. The fact that
15   staff members have largely recovered while inmates are dying at such an alarming rate is a clear
16   indication of the BOP’s inability to adequately care for infected individuals within the system.
17

18
     5
       Asher Stockler, More than 700 people have tested positive for coronavirus on Rikers Island,
19
     including over 440 staff, NEWSWEEK (April 8, 2020), found at https://www.newsweek.com/rikers-
20   island-covid-19-new-york-city-1496872
     6
       COVID-19 in Correctional and Detention Facilities — United States, February–April 2020,
21
     CENTERS FOR DISEASE CONTROL AND PREVENTION, MORBIDITY AND MORTALITY WEEKLY REPORT
22   (May 6, 2020), found at https://www.cdc.gov/mmwr/volumes/69/wr/mm6919e1.htm
23
     7
       Willis Jacobson, Lompoc patient tests positive for COVID-19; first confirmed case in city (March
     26, 2020), https://lompocrecord.com/news/local/lompoc-patient-tests-positive-for-covid-19-
24   first-confirmed-case-in-city/article_2c850540-0735-5616-b615-c674e4c146ea.html.
25
     8
       https://www.bop.gov/coronavirus/
     9
       https://www.bop.gov/coronavirus/
26   10
        Id.
27
     11
        Id.

28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
                                                       4
          Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 5 of 6




1            The pandemic also makes time served much more difficult. People incarcerated at Santa
2    Rita Jail and in BOP facilities live in constant fear of being subjected to a guard or a new person
3    transferred into their facility who gives them this deadly disease under circumstances where they
4    are absolutely incapable of taking steps to avoid it. Recently, Mr. Escobar Ramos was one of 40
5    men locked in a unit who all contracted Covid-19. In this context, a sentence of one year and one
6    day in custody will suffice to punish Mr. Escobar Ramos for the crime he committed; no
7    legitimate goal of sentencing is advanced by increasing the risk to Mr. Escobar Ramos’ physical
8    health by subjecting him to a lengthy term of incarceration.
9             2.5 The Sentencing Range Established for the Applicable Category of Offense
10                Committed by the Applicable Category of Defendant as Set Forth in the
                  Guidelines (18 U.S.C. § 3553(a)(4))
11
             Mr. Escobar Ramos’ base offense level is 12, the lowest offense level applicable to
12
     salescocaine base. U.S.S.G. § 2D1.1. Two levels are subtracted because Mr. Escobar Ramos
13
     intends to accept responsibility for his conduct by pleading guilty. U.S.S.G. § 3E1.1. In Mr.
14
     Escobar Ramos’ criminal history category, IV, the resulting advisory Guideline range is 15-21
15
     months. 12 For the reasons articulated above, Mr. Escobar Ramos submits that a variance of three
16
     months, to a sentence of one year and one day in custody, is appropriate here.
17
              2.6 Unwarranted Sentencing Disparity (18 U.S.C. § 3553(a)(6))
18
             While the requested sentence represents a variance from the guideline range, the variance
19
     is warranted in light of Mr. Escobar Ramos’ conduct and history, as well as the additional time
20
     he will spend in immigration custody prior to his deportation. Additionally, the sentence is in
21
     accord with similarly situated defendants engaged in similar conduct swept up in the Tenderloin
22
     initiative.
23
          3. CONCLUSION
24
             Dionis Escobar Ramos is going to pay for the crime he committed, first by a term in
25

26   12
       Although Mr. Escobar Ramos maintains his objection to the PSR, it does not affect his criminal
27   history category.

28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
                                                       5
        Case 3:20-cr-00131-SI Document 21 Filed 09/28/20 Page 6 of 6




1    prison under exceptionally difficult and dangerous circumstances, then by a period in
2    immigration custody. One year and one day’s imprisonment is sufficient, but not greater than
3    necessary, to serve the goals of 18 U.S.C. § 3553(a) in this case.
4    Dated: September 28, 2020
5                                                               Respectfully submitted,

6                                                               STEVEN G. KALAR
7                                                               Federal Public Defender

8                                                                  /S/
9                                                               ELLEN V. LEONIDA
                                                                Assistant Federal Public Defender
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28   CR 20-131 SI
     Defendant’s Sentencing Memorandum
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